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 1
                         IN THE DISTRICT COURT OF THE UNITED STATES
 2                               DISTRICT OF SOUTH CAROLINA
                                    CHARLESTON DIVISION
 3
           UNITED STATES OF AMERICA,            )            2:11-CR-511
 4                                              )
                             Plaintiff          )            Charleston,
 5                                              )            South Carolina
           VS                                   )            November 10, 2014
 6                                              )
           JIAN-YUN DONG, et al,                )
 7                                              )
                             Defendants         )
 8
                                TRANSCRIPT OF TESTIMONY OF
 9                                AGENT LARRY LEONARD
                           BEFORE THE HONORABLE C. WESTON HOUCK,
10                          SENIOR UNITED STATES DISTRICT JUDGE

11         APPEARANCES:

12         For the Plaintiff:             MR. ERIC KLUMB
                                          MR. NATHAN WILLIAMS
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15         For the Defendant:             MS. ROSE MARY PARHAM
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                                          MR. RUSSELL W. MACE, III
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20
           Vaxima, Inc.                   G. WELLS DICKSON, JR.
21         GenPhar Inc.                   Wells Dickson
                                          124 S. Academy Street
22                                        Kingstree, SC 29556

23         Court Reporter:                Amy C. Diaz, RPR, CRR
                                          P.O. Box 835
24                                        Charleston, SC 29402

25                  Proceedings recorded by mechanical shorthand,
           Transcript produced by computer-aided transcription.



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 1                                           *   *   *   *

 2                       THE COURT:     All right.       Call your next witness.

 3                       MR. WILLIAMS:       Thank you, Your Honor.        The

 4         Government calls Agent Larry Leonard.

 5                       THE CLERK:     Please raise your right hand and left

 6         hand on the Bible.

 7                       State your name for the record.

 8                       THE WITNESS:     Larry Leonard.

 9         THEREUPON:

10                                     AGENT LARRY LEONARD,

11         Called in these proceedings and after having been first duly

12         sworn testifies as follows:

13                       MR. WILLIAMS:       And, Your Honor, if it pleases the

14         Court?     I have three exhibits that I had wished to publish to

15         the jury.       I intend to do that at this time under the three

16         shareholder letters that had been previously admitted through

17         both Ron Paquette and Elaine Van Voris today.                 I have

18         reserved publication.          And if it pleases the Court, I will

19         read the proper excerpts from those at this time.

20                       THE COURT:     Well, let's go ahead and examine this

21         witness.       He's here, we can handle those documents any time

22         we need to.

23                       MR. WILLIAMS:       Thank you, Your Honor.

24                       THE COURT:     He has no connection to them.             He's on

25         the stand.       Let's get rid of his testimony and move forward.




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 1                       MR. WILLIAMS:       Thank you, Your Honor.

 2                                       DIRECT EXAMINATION

 3         BY MR. WILLIAMS:

 4          Q. Sir, tell the jury where you work.

 5          A. I work for the Defense Criminal Investigative Services in

 6         Charleston, South Carolina.

 7          Q. What is the Defense Criminal Investigative Services?

 8          A. It is the investigative arm of the Department of Defense

 9         Inspector General's Office.

10          Q. How long have you been with DCIS?

11          A. It's called DCIS.

12          Q. How long have you been with DCIS?

13          A. I think it's 33 years.            Since 1985.

14          Q. What did you do before you worked at DCIS, if anything?

15          A. I was a Special Agent with the Naval Investigative

16         Service, now known as NCIS, in Washington D.C., and I was a

17         Special Agent with them for approximately four years.

18          Q. Did you do anything before that, educational background

19         that qualified you to work for NCIS?

20          A. 1976 I graduated from the Citadel with a Bachelor of

21         Science Degree in electrical engineering.                I went into -- two

22         weeks after I graduated, I joined the United States Navy as

23         an officer.       My last two years on active duty in 1979 through

24         1981 was as an intelligence analyst at the Naval

25         Investigative Service Headquarters.




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 1          Q. How did you end up back in Charleston?

 2          A. Approximately 10 years ago -- I spent most of my career

 3         in the Washington D.C. area.           Just about everybody in my

 4         organization, since it's relatively small, knew that I was

 5         originally from Charleston, but we didn't have an office in

 6         South Carolina.      In 2003 I was asked to come down here to

 7         open an office.      In June of 2004 I came down here to join a

 8         government task force run by the Department of Justice

 9         involving court security and counterterrorism.

10          Q. And how long were you with that group before you went to

11         your own office?

12          A. Well, part of the agreement when I came down here was

13         that I would be a part of that task force.               But in my spare

14         time I was to work DCIS cases, which are traditionally

15         contract fraud, corruption and the like.               So I had a caseload

16         of DCIS-related cases.         And I also worked on the task force.

17          Q. Are there other agents now since you started that office,

18         other DCIS agents, as well?

19          A. Since the office started here, two other agents have been

20         added.    And I am not officially -- two years ago I was

21         reassigned to our headquarters in Arlington, Virginia.

22          Q. Did you --

23          A. But I actually work out of here.

24          Q. Did you sort of retire?

25          A. I did sort of retire.




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 1          Q. You signed back up and are now working cases?

 2          A. I don't -- these cases are still the ones that were left

 3         over before I was reassigned to headquarters.

 4          Q. So what type of cases, at least most recently, have you

 5         been an investigator on?            What type of work do you do?

 6          A. Primarily throughout my career has been involved in

 7         contract fraud, public corruption, including bribery,

 8         kickbacks in contracts, but all contracts involving the

 9         Department of Defense, either the Department of Defense as a

10         whole or one of the military agencies.

11          Q. And you are familiar, obviously with the case you are

12         here for in court today, involving Dr. Dong, GenPhar and

13         Vaxxima?

14          A. Yes, I am.

15          Q. At some point in time did you interview -- I don't want

16         to go through your entire investigation -- but at some point

17         in time did you interview John Dong in this case?

18          A. Yes, I did.

19          Q. When was the first time you interviewed him?

20          A. August 23rd, 2009.

21          Q. Where did that interview occur?

22          A. It occurred at the FBI office in Mount Pleasant, South

23         Carolina.

24          Q. Was that after -- there had been some talk earlier about

25         a search warrant -- was that after a search warrant had been




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 1         executed?

 2          A. It was after.

 3          Q. And when you interviewed Dr. Dong, was he free to leave?

 4          A. Yes, he was.

 5          Q. He came in voluntarily or he wasn't under any kind of

 6         arrest?

 7          A. He actually called me and asked for an interview.

 8          Q. And did you read him his rights, at least those that may

 9         have applied in that situation?

10          A. I advised him he was free to go and he did not have to

11         answer any of our questions and he could leave at any time.

12          Q. And did you talk to him about the subject of this case,

13         about the grants that were involved in GenPhar?

14          A. Yes, I did.

15          Q. What did he tell you about the grants?

16          A. He described it all the grants were fixed price.

17          Q. Did he explain where they got money from, investment

18         money or anything like that for GenPhar?

19          A. As part of the, you know, the inquiry, we --

20                       THE COURT:     Now, do you have a written statement?

21                       MR. WILLIAMS:       Yes, Your Honor.

22                       THE COURT:     Do you plan to offer that in evidence?

23                       MR. WILLIAMS:       I wasn't planning on it, Your Honor.

24                       THE COURT:     Okay.

25                       MR. WILLIAMS:       I shouldn't say it's a written




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 1         statement; it's a typewritten report of the interview.

 2                       THE COURT:     I just didn't want to go through all the

 3         details if you were ultimately going to offer the statement.

 4                       MR. WILLIAMS:       That's why I was trying to cut to

 5         the chase.

 6                       THE COURT:     That's good.      I'm all for that.

 7          Q. So without getting into all those background details, I

 8         think you talked about the grants specifically.                 Did he

 9         indicate in that statement to you what type of investment or

10         investor funds they had?

11          A. He indicated that when the company first started, that it

12         started with about $1 million and then --

13                       THE COURT:     Let me interrupt.       Let me see the

14         lawyers up here just a moment.

15                       (At the bench.)

16                       THE COURT:     I've had criminal cases for a long time,

17         I've tried a lot of criminal cases, but my recollection is

18         that in every one I've had in the past, I've had a

19         voluntariness hearing before the statement was introduced.

20                       This is a little bit unique because I knew

21         beforehand that he had voluntarily went in, and I know that

22         he's testified that there is no intention, he was in custody

23         or anything like that, but I do feel like if there is any

24         question about the voluntariness, put it on the record, then

25         I can have that hearing now outside of the presence of the




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 1         jury.

 2                       I don't know what useful purpose it would serve, but

 3         it seems to me -- I don't think the rule was now, but I think

 4         way back when I first started, you did have to have a hearing

 5         before the statement came in.              I think now -- I don't know.

 6         I didn't anticipate this will happen.                I hadn't even thought

 7         about it, but I just wanted to open the door and see what

 8         anybody thought whether I can do it, alleviate anybody's

 9         doubts or fears or concerns about it, the confession in broad

10         terms, and let me know.

11                       What about you?

12                       MR. MACE:      Judge, our concern would be we want to

13         make sure that any grant              --

14                       MR. WILLIAMS:       I don't intend to ask about grant

15         stuff.    And it's not going to go into the things I think you

16         are worried about.

17                       MR. MACE:      Okay.

18                       THE COURT:     I'm not sure I understood you.

19                       MR. WILLIAMS:       I think there is some other

20         information in the statements.              I'm not going to ask about

21         the -- ask about the -- I mean, I think that's what they are

22         worried about.        I'm not going to get into personal things,

23         things like that.

24                       MR. MACE:      Okay.

25                       MR. WILLIAMS:       I may ask about lobbying.




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 1                       THE COURT:     You ask him about that after five days

 2         of trial, I think.

 3                       MR. WILLIAMS:       I think it would be a mistrial at

 4         the --

 5                       MR. DICKSON:       He didn't sign these documents, or

 6         these memorandums.

 7                       MR. WILLIAMS:       They are reports of an interview.

 8                       THE COURT:     How many more witnesses do you have?

 9         You are up to 20 now.

10                       MR. WILLIAMS:       We've got three more.

11                       THE COURT:     What is Bob Bickerton doing here?

12                       MS. PARHAM:      Watching.

13                       MR. DICKSON:       I don't see where he signed them.

14                       MR. WILLIAMS:       I didn't say he did.        I said we have

15         reports of an interview.

16                       MR. DICKSON:       Okay.    We just call them statements.

17         I'm kind of concerned.

18                       (In open court.)

19          Q. Agent Leonard, I believe you were starting to talk about

20         what this defendant told you about private investment money

21         when you interviewed him.

22          A. Yes.

23          Q. What did he say?

24          A. The initial investment was approximately $1 million.                 And

25         then subsequent to that, they received an additional




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 1          investment, another $12 million.

 2           Q. Did he explain more recent investments, as well?

 3           A. Yes.

 4           Q. What did he explain about recent investments?

 5           A. He indicated that he had gotten, I believe $4 million

 6          from Reinhard Hubner, a German investor.

 7           Q. And did he explain what the status of the investment

 8          funds were at the time of the interview in 2009?

 9           A. He said at the time of the interview that they had no

10          more, he called it a buffer, with investor funds for the

11          company.

12           Q. Did he explain to you the organization of GenPhar, his

13          role at GenPhar?

14           A. Yes.      He said he was the President and Chief Executive

15          Officer of the company.

16           Q. Did he explain how he was compensated through GenPhar?

17           A. He did.

18           Q. What did he tell you?

19           A. In the first interview, he said that he was paid as a

20          consultant $150,000 a year.

21           Q. Did he explain at all how grant expenses could be used or

22          not used for the building?

23           A. We did ask how he -- what money the company had available

24          to it.     And he indicated there were investor funds, and then

25          he used the term called money earned, which was unfamiliar to




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 1          me, and grant funds was funds that were coming into the

 2          company.

 3           Q. So did he explain any further, at least at that time,

 4          what this money earned concept was?

 5           A. He basically said that these were milestone-driven

 6          contracts, and most of the milestones were reached.                     And any

 7          money leftover was no longer grant money and that it could be

 8          used for anything.

 9           Q. And did you ask him if that money was used for the

10          building?

11           A. I did.

12           Q. What was his response?

13           A. He said that money earned was used.

14           Q. Did he indicate whether he thought the grant money could

15          be used for lobbying?

16           A. He indicated that he could not use indirect costs for

17          lobbying, but that he could use the money earned for

18          lobbying.

19           Q. So that was on August 26th of 2009, correct?

20           A. That's correct.

21           Q. Did you have a second followup interview with him?

22           A. Yes, I did.

23           Q. And about what day was that, approximately?

24           A. It was December the 23rd, same year, 2009.

25           Q. Were the circumstances of that interview any different?




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 1           A. Very similar.         He called and asked to come in and talk.

 2                       The first interview was when it was -- when it was

 3          set up, we only -- we knew we only had two hours.                 He had a

 4          conference call that he needed to make, and so we didn't

 5          exactly get finished, but we got through most of everything.

 6                       But then in December he asked to come back in and to

 7          discuss this with us.          And so it was basically the same.          We

 8          met in the -- at the Mount Pleasant FBI Office.                 Special

 9          Agent Olsen from the FBI and myself conducted both

10          interviews.       And he went back through that he did not have to

11          answer any questions and he was free to leave.

12           Q. And did you ask him any followup questions regarding the

13          corporate structure again of GenPhar and Vaxxima?

14           A. I did.

15           Q. And did he explain on December 24th --

16           A. He explained that he was the Chief Executive Officer and

17          President.      He identified his wife at the time, Dr. Danher

18          Wang, as the Vice President for Research and Chief Scientific

19          Officer.      He identified Stephanie Rabon as the bookkeeper.

20          He also said that Linda Richards was employed, I don't know

21          that he meant in that particular sense, but he said she was

22          employed as their accountant.             And he also identified an

23          outside auditing firm.

24           Q. Did you re-discuss or did you have another discussion

25          about this money earned concept and how the building was paid




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 1          for?

 2           A. We did.       I wanted to have him clarify a little better

 3          what money earned meant.

 4           Q. What did he say?

 5           A. Pretty much that it was when they reached a milestone and

 6          they were paid by the Government, that that money was earned;

 7          and as a result, it could be used for other things.

 8           Q. Did he ever say that he talked with anybody about that or

 9          discussed it with grantors?

10           A. We asked him if he had talked to anybody in the United

11          States Government who had told him that.                Initially he said

12          that he had not.        And the second time, the second interview,

13          he said that he recalled that he talked to somebody but he

14          didn't know who it was.

15           Q. As far as future interviews, did you have a third

16          interview with him?

17           A. Yes.      I interviewed him in August of 2010.

18           Q. And was that a similar circumstance where he was free to

19          leave; wasn't forced to be there; was given his rights?

20           A. Yes.

21           Q. And in that interview, was there some discussion about

22          grants and possible loans?            If you need to refer to your

23          notes, certainly do.

24           A. In August 2010, by that time we knew that the company

25          basically had ceased operation.             So he came in and indicated




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 1          that they did not have any funds left.

 2           Q. Did he have any plan to try to complete the building at

 3          that time?

 4           A. He did.       The company had obtained a first mortgage, a

 5          loan for the building, in November 2009 after the search

 6          warrant.      And during this meeting, he said that they were not

 7          able to pay the mortgage or get an additional loan to pay for

 8          the completion of the building.

 9           Q. Was there any -- did you have an understanding based on

10          your conversations with him that he was able to obtain

11          additional investor funds at that point in time?

12           A. At that time, no.

13           Q. Did that come up in a later interview?

14           A. Yes.

15           Q. As far as from that interview, did he give any opinion as

16          to whether grant funds could be spent on other projects?

17           A. Yes.      He has maintained that all along.

18           Q. That it could or that it couldn't be?

19           A. Well, if the questioning was put to him as, Could you use

20          grant funds to do this?              His answer would be no.      But then he

21          would turn around and say that money earned from the grants

22          could be.

23           Q. And did -- I believe he told you something to the effect

24          of earning that money?

25                       MR. MACE:      Objection, leading, Your Honor.




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 1                       THE COURT:     I'm going to permit it.         We are trying

 2          to shorten the time, and I think sometimes leading questions

 3          help.   And I don't think the question here is helping the

 4          witness answer.        I think his answer is going to be the same

 5          whether it's leading or not.

 6                       So go ahead.

 7           Q. Did he discuss with you whether he thought the money

 8          diverted to the GenPhar building was justifiable?

 9           A. Well, he kind of rejected the idea of diverting money.

10          He thought that was illegal to divert money.                But he did

11          think that the money being used in this building was

12          justifiable even in the proposals that were submitted.

13           Q. And then I believe you said you had one other interview

14          with him.

15           A. That's correct.

16           Q. Let me go back -- there was one other thing in that

17          August 13th interview.          Did he talk to you about his -- well,

18          let me ask you:        In any of these interviews, did he talk with

19          you about his understanding of how grants work?

20           A. Yes, he did.

21           Q. What was his explanation of his understanding of grants?

22           A. I'm not sure I understand your question.

23           Q. Did he ever tell you how he knew about grants or what his

24          rule was in grants?

25           A. Well, he said that he had worked with grants for many




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 1          years and he considered himself to be well-versed with

 2          regards to grants.

 3           Q. And I believe that came up in a 2011 interview?

 4           A. That's correct.

 5           Q. And was that the last interview that you had with the

 6          defendant?

 7           A. Yes.

 8           Q. That was what day?

 9           A. That was in September, um, September the 16th, 2011.

10           Q. And so what did he tell you about his understanding of

11          grants?

12           A. He said that he was very knowledgeable of grants; that he

13          sat on committees to evaluate grants and he considered

14          himself to be more knowledgeable than most with regards to

15          grants and grant receivers.

16                       He also indicated that as the President and CEO of a

17          corporation receiving grants, that he was responsible for

18          reading the grant and then following the rules and

19          regulations associated with.

20           Q. And did he tell you in that interview whether he had a

21          new investor in GenPhar?

22           A. Yes, he did.

23           Q. What was his explanation of the new investor, what he may

24          or may not have told the investor?

25           A. The new investor was an investor from Hong Kong.                    And we




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 1          asked him if he had informed this investor of the ongoing

 2          investigation, and he said that he had not.

 3           Q. As far as this issue with time sheets, did you ask him

 4          whether he had any role in how the time sheets were filled

 5          out?

 6           A. He said he was knowledgeable with regards to how the time

 7          sheets were filled out.              And he also made a comment, I don't

 8          remember exactly which interview it was in, but it was to the

 9          effect that GenPhar employees were not authorized to put

10          their time on their time sheets if it was not for work they

11          had not done.

12                       MR. WILLIAMS:       Thank you, Agent Leonard.          Nothing

13          else.

14                       MR. MACE:      Thank you, Judge.

15                       Would it be permissible for me to see the documents

16          that Agent Leonard is refreshing his recollection?

17                       THE COURT:     Sure.

18                                        CROSS-EXAMINATION

19          BY MR. MACE:

20           Q. Agent Leonard, the style of the caption of the documents

21          you are using to refresh your recollection with, it says "Qui

22          Tam Claim" on it, right?

23           A. The header on the document, yes.

24           Q. Okay.      And I think the ladies and gentlemen of the jury

25          already know this --




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 1                       THE COURT:     I didn't know he was refreshing his

 2          recollection.

 3                       MR. MACE:      I believe he was, Judge.         I believe Mr.

 4          Williams asked him and he has been looking down at those

 5          documents during his testimony.

 6                       THE COURT:     Well, I think we need to put that on the

 7          record.      I think that the jury has the obligation of judging

 8          this witness's credibility.            And if there is anything about

 9          his testimony that may be relevant, they have the right and

10          we have the obligation to tell them what it is.

11                       Now, we have been through -- yes, sir?

12                       MR. WILLIAMS:       I was going to make the record

13          whenever Your Honor wanted.            I can ask him those questions.

14                       THE COURT:     We have been through the refreshing of a

15          witness's recollection on several occasions.                Today Mr. Klumb

16          followed a little different procedure than he did the other

17          day to the point where I commented to my clerk and wanted a

18          break.    I said, I finally got somebody to read a rule because

19          it was obvious that he had read the Rule.               I don't know

20          whether it was 608, 602, whatever it is, and asked for

21          permission to refresh the witness's recollection, showed the

22          exhibit, had it approved, went through the procedures

23          outlined in the Rule where that hadn't been done before.

24                       Now, here we have a witness who is testifying from a

25          document, and we need to have that document identified so




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 1          that the jury will know what he's using to prompt himself

 2          during this testimony.          That's crucial, it seems to me, or

 3          could be crucial in the jury's mind as to judging his

 4          credibility.

 5                       Now, what is it he's using, and has he used this

 6          throughout his testimony?

 7                       MR. WILLIAMS:       I can ask those questions, Your

 8          Honor.

 9                                           EXAMINATION

10          BY MR. WILLIAMS:

11           Q. Agent Leonard, you have some documents with you?

12           A. I do.

13           Q. What are they?

14           A. They are the four reports of the interview that we have

15          been talking about with Dr. Dong.

16           Q. Have you referred to those on occasion in your testimony

17          to refresh your recollection?

18           A. Well, I did look at them, but I didn't have my glasses

19          on, so I really couldn't read them.              But yes, I did look at

20          them.

21           Q. So you weren't testifying from those documents; you just

22          had them there sort of as a crutch?

23           A. Pretty much.

24           Q. So they weren't used to refresh your recollection so much

25          as should that have come up, you may be able to --




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 1           A. I couldn't find them on the pages.

 2                       THE COURT:     Come around, Mr. Williams, and be sworn,

 3          please.      Okay.

 4                       MR. WILLIAMS:       Does that suffice, Your Honor?

 5                       THE COURT:     Anything you want to add to it?             I'm not

 6          trying to do anything except paint the proper picture for the

 7          jury.

 8                       MR. MACE:      Judge, my recollection is that Mr.

 9          Williams asked Agent Leonard several times several different

10          questions, and Agent Leonard looked down and put his glasses

11          on and reviewed those documents.

12                       THE COURT:     Well, I watched him throughout his

13          testimony and I usually pick up on that, and I didn't pick up

14          on it.    So if he looked down, he wasn't constantly reading

15          anything or I would have noticed it, I think, and the jury

16          would have, as well, and --

17                       MR. WILLIAMS:       I can mark those as an exhibit just

18          to be safe.       That's fine with me.

19                       THE COURT:     Okay.     Go ahead.

20                       MR. MACE:      Thank you, Judge.

21           Q. The documents that you generated, the style of the

22          caption, it's called "Qui Tam Claim"; is that correct?

23           A. That's correct.

24           Q. And that refers to a civil case?

25           A. Actually, what that refers to is a requirement




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 1          involving -- any time we have an investigation that initiated

 2          under qui tam, it has to have that header on it so that it

 3          does not -- because it is sealed -- that it does not get

 4          released accidentally.          So that header is placed on any case

 5          that comes in initially as a qui tam until it is unsealed.

 6           Q. Okay.      But are all of your reports that you generated

 7          while interviewing Dr. Dong, do they all say qui tam on them?

 8           A. I believe they do.

 9           Q. So going back to my original question:               This started out

10          as a civil qui tam claim?

11           A. The initial complaint came in as a qui tam claim,

12          correct.

13           Q. And how were you assigned to that qui tam claim?

14           A. Well, I got a call from the Department of Justice that a

15          qui tam had been filed involving the Department of Defense.

16          There was going to be a meeting with the relators of that.                  I

17          think I got the actual complaint a day or two maybe or each

18          on the day of, I don't remember at this point, about the qui

19          tam.   I reviewed it; participated in the initial meeting with

20          Special Agent Dimler and two or three AUSAs from the U.S.

21          Attorney's Office here in Columbia.              And that's pretty much

22          the way normal procedure is for any of these kind of

23          allegations.

24           Q. Okay.      And are those relators Elaine Van Voris that

25          testified here earlier today?




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 1           A. I think her name is Elaine.

 2           Q. Elaine.       And then was Johnston the other one?

 3           A. Peter Van Voris and then John Johnston.

 4           Q. So you met with them.            That was the initial stage of your

 5          involvement in this case?

 6           A. That's correct.

 7                       THE COURT:     Ladies and gentlemen of the jury, it's

 8          kind of confusing.         Most people have never heard of a qui tam

 9          suit.   But it is a lawsuit that is brought almost always -- I

10          can be corrected by counsel if I'm wrong -- but it's almost

11          always brought by a whistle blower.              And it's brought against

12          some institution claiming that they have made false claims

13          against the Federal Government.             They can be brought against

14          hospitals where it was claimed that they used improper

15          influences to get doctors to come practice in their hospital

16          so that their Medicare payments would grow, and whistle

17          blowers in the hospital brought the qui tam litigation.

18                       It's brought, it's investigated, and then as I

19          mentioned the other day, it's sealed.              And that's the status

20          of it here today.         I've never seen it.       That aspect of this

21          case was sent before Judge Gergel who sits in the same spot I

22          do over in the other building.             And he has that case and he

23          routinely signed an order of seal.             We normally sign them.

24          And it could go on for a year or longer before the seal is

25          broken.




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 1                       Any other explanation you want me to give to them?

 2                       MR. MACE:      No, sir, that's sufficient.

 3                       THE COURT:     As far as -- and it is a suit for a

 4          false claim and it's a suit for damages.                Okay.

 5                       MR. MACE:      Thank you, Judge.

 6           Q. Agent Leonard, just briefly, Dr. Dong voluntarily came to

 7          see you at the FBI Office?

 8           A. Yes, he did.

 9           Q. How many times?

10           A. At the FBI Office, I think it was three times.

11           Q. And then the last time where did he come see you?

12           A. The last interview was with his attorney at the U.S.

13          Attorney's Office in Columbia.

14           Q. Okay.      But again, you didn't force him to come in; he

15          voluntarily wanted to come see you?

16           A. We generally don't force people to come in.

17           Q. Again, he voluntarily came to see you?

18           A. Yes.

19                       MR. MACE:      Thank you.

20                       MR. DICKSON:       My usual one question.

21                       THE COURT:     You can ask all the questions you want

22          to.

23                       MR. DICKSON:       But I only want to ask these two.

24                                        CROSS-EXAMINATION

25          BY MR. DICKSON:




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 1           Q. Agent Leonard, you determined there were about 12 or $13

 2          million in original investments in GenPhar?

 3           A. That was what he reported.

 4           Q. You didn't try to confirm it?

 5           A. We had an auditor assigned to the investigation to go

 6          through the books and records.

 7           Q. I couldn't quite hear you.

 8           A. I said we had an auditor assigned to the investigation.

 9          There were five agencies involved in this case:                 The FBI,

10          DCIS, NCIS, United States Army Criminal Investigation

11          Division, HHS, and we also had an auditor from the Defense

12          Contract Audit Agency.          And so for the most part all --

13                       THE COURT:     Wait a minute.       I don't know whether you

14          are going into what the auditor said or not, but I think

15          you've answered the question.

16                       Go ahead.

17           Q. You didn't personally determine yourself, is my question?

18           A. I did not.

19           Q. What about the summer of 2010, or at least the last --

20          the interview of Dr. Dong in 2010, you had determined through

21          the investigation that GenPhar was broke, had no money, was

22          out of business?

23           A. Yes.

24           Q. That's your answer?

25           A. Yes.




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 1           Q. I'm sorry.        I'm a little hard of hearing.          I wanted to be

 2          sure I heard you.

 3           A. By 2010.

 4           Q. Yes.

 5           A. Yes.

 6                       MR. DICKSON:        No further questions.

 7                       THE COURT:     Anything further from the Government?

 8                       MR. WILLIAMS:        Not with this witness, Your Honor.

 9                       THE COURT:     Thank you, sir.       You are excused.

10                                   *****        *****       *****

11

12

13

14          I certify that the foregoing is a correct transcript from the

15          record of proceedings in the above-titled matter.

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18

19          ---------------------------

20

21          Amy C. Diaz, RPR, CRR                         November 25, 2014

22          S/   Amy Diaz

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